             IN THE UNITED STATES DISTRICT COURT FOR THE
                    WESTERN DISTRICT OF OKLAHOMA

John Thomas Talley,

              Plaintiff,
v.                                                  Case No. CIV–14–00853–D

Time Inc., d/b/a Sports Illustrated
Magazine, et al.,

              Defendants.
     DEFENDANTS’ DAUBERT MOTION IN LIMINE AND MOTION TO STRIKE
         REPORT OF TERRY J. WESTEMEIR, AND SUPPORTING BRIEF

       The defendants, Time Inc., George Dohrmann, and Thayer Evans, move to strike

the expert report of the plaintiff’s proposed expert, Terry J. Westemeir, and move in

limine to exclude his testimony at trial or from being considered in opposition to the

defendants’ summary judgment motion. Westemeir’s seven–page report, attached as

Exhibit 1, does not satisfy the requirements of Fed. R. Civ. P. 26(a)(2), and indeed is no

report at all. In addition, his assumed testimony is not relevant or reliable as required by

Fed. R. Evid. 702, Daubert v. Merrell Dow Pharmaceuticals, Inc., 509 U.S. 579 (1993),

and Kumho Tire Company, Ltd. v. Carmichael, 526 U.S. 137 (1999). For these reasons,

the testimony of Westemeir is inadmissible. In support of this motion, the defendants

offer the following arguments and authorities.

       The plaintiff’s final list of experts and their expert reports were filed on June 5,

2017, the deadline fixed by the court in its amended scheduling order. See Order [doc.

no. 47]. The plaintiff listed Terry J. Westemeir to opine about how the five–part report in

Sports Illustrated (“SI”) entitled “The Dirty Game” (1) increased or maintained SI’s
subscription levels, (2) enhanced SI sales, (3) impacted SI’s profitability and earnings, (4)

impacted SI advertising dollars and (5) impacted the print version and SI.com’s

programming. Exh. 1 at 5–6.

       However, Westemeir’s opinions should be excluded for several reasons. His

report violates Rule 26(a)(2); Westemeir identifies no education, experience, or training

that qualifies him to opine about how the SI article caused any change in SI’s

profitability, subscription levels, or earnings; and his opinions regarding “the financial

and economic impact, if any, realized by Time Inc.” resulting from publication of the

article, Exh. 1 at 1, are in any event wholly irrelevant to the plaintiff’s claim of false light

invasion of privacy.

I.     Westemeir’s report violates Rule 26(b)(2).

       Under Rule 26(a)(2)(B), an expert report must have 12 attributes: The report must

be (1) written, (2) prepared by the witness and (3) signed by him. The report must

contain (4) a complete statement of all opinions to be expressed by the expert witness and

(5) a complete statement of the bases and reasons for the opinions. The report must

contain (6) the information considered by the witness in forming the opinions and (7) any

exhibits to be used as a summary of or support for those opinions. The report must state

(8) the qualifications of the witness and list (9) all publications by the witness within the

preceding 10 years and all cases within the last four years in which the witness has (10)

testified as an expert at trial or (11) testified as an expert by deposition. Finally, the

report must state (12) the compensation to be paid to the expert. See Anderson v. Hale,

No. CIV-02-0113-F, 2002 WL 32026151, *2 (W.D. Okla. Nov. 4, 2002).


                                               2
      Westemeir’s report fails completely to provide the heart of the information

required by Rule 26((a)(2)(B)––items 4–5 and 7. The report offers no actual opinions.

Instead, Westemeir says his analysis is “incomplete” and wholly dependent on

information he does not have. Exh. 1 at 5. Not surprisingly, because he does not have

that information (despite the fact this suit has been pending for nearly three years),

Westemeir cannot identify the facts or data actually considered or the methodology used

in arriving at yet–to–be–formulated opinions. Simply stated, Westemeir’s report is not

compliant with Rule 26((a)(2)(B) at all.

       Rule 26(a)(2)(B) requires that the expert reports be complete and contain all of

the information specified in the rule so that opposing counsel is not forced to depose an

expert in order to avoid surprise at trial.       See Committee Comment to 1993

Amendments to Rule 26(a)(2). A preliminary report, by definition, is not a complete

report. See Jacobsen v. Deseret Book Co., 287 F.3d 936, 952–953 (10th Cir. 2002),

cert. denied, 537 U.S. 1066. The information required to be set forth in an expert report

was explained in Salgado v. GMC, 150 F.3d 735, 742 n.6 (7th Cir. 1998), cited with

approval by the Tenth Circuit in Kern River Gas Transmission Co. v. 6.17 Acres of

Land, 156 Fed. Appx. 96, 102 (10th Cir. 2005) (emphasis added), as follows:

          Rule 26(a) expert reports must be “detailed and complete.” Fed. R.
          Civ. P. 26 Advisory Committee’s note; see also Sierra Club v.
          Cedar Point Oil Co., 73 F.3d 546, 571 (5th Cir. 1996), cert. denied,
          117 S. Ct. 57, 136 L. Ed. 2d 20, (1996). A complete report must
          include the substance of the testimony which an expert is expected to
          give on direct examination together with the reasons therefor. Fed.
          R. Civ. P. 26 Advisory Committee’s note: [citation omitted] The
          report must be complete such that opposing counsel is not forced
          to depose an expert in order to avoid ambush at trial; and


                                           3
          moreover the report must be sufficiently complete so as to shorten
          or decrease the need for expert depositions and thus to conserve
          resources. See Sylla-Sawdon v. Uniroyal Goodrich Tire Co., 47
          F.3d 277, 284 (8th Cir.), cert. denied, 516 U.S. 822, 116 S. Ct. 84,
          133 L. Ed. 2d 42, (1995). Expert reports must not be sketchy,
          vague or preliminary in nature. Fed. R. Civ. P. 26 Advisory
          Committee’s note; see also Sierra Club, 73 F.3d at 571. Disclosures
          must not be used as a means to extend a discovery deadline. See id.
          Expert reports must include “how” and “why” the expert reached a
          particular result, not merely the expert’s conclusory opinions.

       Under Fed. R. Civ. P. 37(c)(1), the court may strike a party’s expert designation

and preclude testimony at trial from those experts who did not provide a complete expert

report in compliance with Rule 26(a)(2). Rule 37(c)(1) provides that, if a party fails to

provide the information . . . required by Rule 26(a) . . . , “the party is not allowed to use

that information or witness to supply evidence on a motion, at a hearing, or at a trial,

unless the failure was substantially justified or is harmless.” See Jacobson, 287 F.3d at

952–53 (trial court required to exclude testimony of expert where report unjustifiably

failed to meet requirement of rule unless deficiencies are harmless); Hayes v. Wal–Mart

Stores, Inc., 294 F. Supp. 2d 1249 (E.D. Okla. 2003) (same); Anderson v. Hale, No. CIV-

02-0113-F, 2002 WL 32026151, *4 (W.D. Okla. Nov. 4, 2002) (same); Palmer v. Rhodes

Mach., 187 F.R.D. 653, 656 (N.D. Okla. 1999) (“The requirements of Rule 26(a) are

mandatory as to any expert retained to testify. If the expert is unable or unwilling to

make the disclosures he should be excluded as a possibility for retention as an expert

witness in the case.”).

       In Jacobsen, 287 F.3d 936, the Tenth Circuit held that “a district court can allow

evidence violating Rule 26(a) only if the violation was justified or harmless,” and it



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stated that a court should consider the following factors in determining if the violation

was justified or harmless:

          (1) the prejudice or surprise to the party against whom the testimony
          is offered; (2) the ability of the party to cure the prejudice; (3) the
          extent to which introducing such testimony would disrupt the trial;
          and (4) the moving party’s bad faith or willfulness.

Id. at 953 (quoting Woodworker’s Supply, Inc. v. Principal Mut. Life Ins. Co., 170 F.3d

985, 993 (10th Cir. 1999)). With respect to the first factor, the court stated that, to avoid

prejudice, the opposing party “needed to know the substance of the experts’ testimony”

and that prejudice is established where the report is stated to be preliminary and subject

to revision. Id. at 953. The court in Jacobsen determined that where expert reports

indicated that percentages and calculations were preliminary and more refined

calculations would be made, the introduction of expert testimony not contained in the

expert reports would be prejudicial to the opposing party. Id.

       The court stated that such prejudice results from a violation of the following

purpose of Rule 26(a) expert reports:

              The reports are intended not only to identify the expert
              witness, but also “to set forth the substance of the direct
              examination.” Fed. R. Civ. P. 26(a)(2) advisory committee
              note (1993). Such disclosure is necessary to allow the
              opposing party “a reasonable opportunity to prepare for
              effective cross examination and perhaps arrange for expert
              testimony from other witnesses.” Id.

Jacobsen, 287 F.3d at 953 (emphasis added). Thus, to avoid prejudice, the opposing

party must know the substance of the expert’s testimony.

       The deficiencies in Westemeir’s report in violation of Rule 26(b)(2) are neither



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justifiable nor harmless, and indeed they are prejudicial to the defendants. Cf. Hayes v.

Wal–Mart Stores, Inc., 294 F. Supp. 2d 1249 (E.D. Okla. 2003) (striking expert report

and excluding testimony for failure to comply with Rule 26(a)(2)(B)); Anderson v. Hale,

No. CIV–02–0113–F, 2002 WL 32026151, *4 (W.D. Okla. Nov. 4, 2002) (same).1 The

plaintiff’s failure to have his expert abide by the requirements of Rule 26(a)(2)(B) is

reason enough to exclude Westemeir’s testimony.

II.   Westemeir is not qualified as a “causation” expert and his opinions would not
      assist the trier of fact as required by Daubert/Kumho.

       The Supreme Court’s decisions in Daubert v. Merrell Dow Pharmaceuticals, Inc.,

509 U.S. 579 (1993), and Kumho Tire Company, Ltd. v. Carmichael, 526 U.S. 137

(1999), establish a “gatekeeper” function for trial judges under Fed. R. Evid. 702.

Ralston v. Smith & Nephew Richards, Inc., 275 F.3d 965, 969 (10th Cir. 2001); Goebel v.

Denver & Rio Grande Western R.R., 215 F.3d 1083, 1087 (10th Cir. 2000), after remand,

346 F.3d 987 (10th Cir. 2003); Taber v. Allied Waste Systems, Inc., No. CIV–13–773–D,

2015 WL 1119750 (W.D. Okla. Mar. 11, 2015), aff’d, 642 Fed. Appx. 801 (10th Cir.

2016); Trotter Overhead Door, Inc. v. Trotter Doors, LLC, No. CIV–11–1348–HE, 2013

WL 4520242 (W.D. Okla. Aug. 26, 2013); Anderson v. Hale, No. CIV–02–0113–F, 2002

WL 32026151 (W.D. Okla. Nov. 4, 2002).


1
  The plaintiff should be bound to and limited by the expert report submitted by the
court’s deadline. If the plaintiff were allowed to submit a complete report months after the
deadline, the defendants would then have to decide whether to retain expert witnesses to
rebut the plaintiff’s expert, and the defendants would have to submit expert reports to the
plaintiff. Additionally, the defendants would need time to depose the plaintiff’s expert and
file any necessary Daubert and dispositive motions long after the court–imposed deadline
of July 5, 2017.


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       “The district court’s admissibility determination has two parts. First, the court

must determine whether the expert is qualified. If sufficiently qualified, the court must

then determine whether the expert’s opinion is reliable and relevant in that it will assist

the trier of fact.” Taber, 2015 WL 1119750 at *5. The second part involves assessing

the reasoning and methodology underlying the expert’s opinion and determining whether

it is reliable in the context of the particular facts and issues in the case. The relevance

evaluation includes the question of “fit,” that is, determining whether the expert opinion

is sufficiently tied to the facts of the case that the opinion will assist the trier of fact.

Anderson at *5. When an expert’s testimony’s factual basis, data, principles, or methods

of application are called sufficiently into question, the trial judge must determine whether

the testimony has a reliable basis. Kumho, 526 U.S. at 149. “[A]ny step that renders the

analysis unreliable . . . renders the expert’s testimony inadmissible.” Goebel v. Denver &

Rio Grande Western R.R., 346 F.3d 987, 992 (10th Cir. 2003) (quoting Mitchell v.

Gencorp Inc., 165 F.3d 778, 782 (10th Cir. 1999). The proponent of expert testimony

bears the burden to demonstrate the admissibility of the testimony. Navarrete v. Wiebe,

No. CIV–13–708–D, 2014 WL 3732667, *1 (W.D. Okla. Jul. 25, 2014).

       Westemeir’s report intimates that he expects to opine that SI’s financial

performance improved following publication of the article “The Dirty Game.” It also

suggests that he will try to do more––he will opine that the article (as opposed to other

factors) caused that improvement.2


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  Courts have recognized that a chronological rendition of events whereby one event
occurred before another event does not mean that the first event caused the second event.

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       Fed. R. Evid. 702 provides that an expert may testify in the form of opinion only

if, among other things, his specialized knowledge will help the trier of fact understand the

evidence or determine a fact at issue. Whether a witness is qualified as an expert can

only be determined by comparing the area in which the witness has superior knowledge,

skill, experience, or education with the subject matter of the witness’s testimony. Carroll

v. Otis Elevator Co., 896 F.2d 210, 212 (7th Cir. 1990).           It does not appear from

Westemeir’s report that he has any specialized knowledge that would assist the trier of

fact on the causation issue he proposes to explain as an expert.

       With respect to objective facts such as SI’s financial performance before and after

publication of the article––for example, raw changes in the number of subscriptions or

the number of clicks on a website or the number of dollars of revenue generated––a jury

would not require expert testimony to understand those facts. With respect to what

caused that change in financial performance, an expert––if qualified––might assist the

trier of fact if the issue were relevant.3 However, Westemeir’s report does not indicate

that he has any qualification to express opinions about causation. That is, he has listed no

training, experience, knowledge, education, or skill (such as having a career in the

business side of magazine publishing) that qualifies him to opine that the publication of a

particular article in a weekly magazine containing many articles caused any change in


That form of reasoning represents a logical fallacy known as the post hoc ergo propter
hoc (after this and therefore because of this) fallacy. A conclusion based on this
reasoning is not a reasonable inference but is mere speculation and conjecture. Sunward
Corp. v. Dun & Bradstreet, Inc., 811 F.2d 511, 521 n.8 (10th Cir. 1987).
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  As discussed below, the financial performance of Time Inc. or its brand, SI, is wholly
irrelevant.


                                             8
financial performance (which is normally measured only on a quarterly or annual basis).

       In Lifewise Master Funding v. Telebank, 374 F.3d 917 (10th Cir. 2004), the

appellate court upheld the district court’s exclusion of testimony by the plaintiff’s chief

executive officer as an expert witness on damages. For the CEO to qualify as an expert,

he was required to possess “such skill, experience or knowledge in that particular field as

to make it appear that his opinion would rest on substantial foundation and would tend to

aid the trier of fact in his search for truth.” Id. at 928 (quoting Graham v. Wyeth Labs.,

906 F.2d 1399, 1408 (10th Cir. 1990) (quoting Bridger v. Union Ry. Co., 355 F.2d 382,

387 (6th Cir. 1966)). In excluding the CEO as an expert, the court observed that despite

his business acumen, he had no training in the subject on which he was to opine, had

never testified as an expert or prepared a report on the subject, had never taught a course

or lectured on that subject, and never published any articles about it.          Id. at 928.

Likewise, Westemeir may be experienced in accounting, but that does not mean that he is

qualified to opine on all matters that involve interpretation of financial data, let alone

interpretation of data to opine that a single article in a weekly magazine caused a change

in that data. Cf. Taber v. Allied Waste Systems, Inc., 642 Fed. Appx. 801, 807 (10th Cir.

2016) (“An expert who ‘possesses knowledge as to a general field’ but ‘lacks specific

knowledge does not necessarily assist the jury.’”) (quoting City of Hobbs v. Hartford Fire

Ins. Co., 162 F.3d 576, 587 (10th Cir. 1998)). In this particular case, Westemeir has

listed no training, education, or skill that qualifies him to testify about causation, and the

plaintiff has not demonstrated qualifications to opine on that subject.

       Westemeir has also failed to disclose any tested methodology he will use to arrive


                                              9
at his opinions despite Rule 702’s insistence that an expert’s methodology––how he

moves from facts or data to a conclusion––is sound. The Advisory Committee comments

to the 2000 amendments to Rule 702 state (emphasis added):

              If the witness is relying solely or primarily on experience,
              then the witness must explain how that experience leads to
              the conclusion reached, why that experience is a sufficient
              basis for the opinion, and how that experience is reliably
              applied to the facts. The trial court's gatekeeping function
              requires more than simply “taking the expert's word for it.”
              See Daubert v. Merrell Dow Pharmaceuticals, Inc., 43 F.3d
              1311, 1319 (9th Cir. 1995) (“We’ve been presented with only
              the experts’ qualifications, their conclusions and their
              assurances of reliability.     Under Daubert, that’s not
              enough.”). The more subjective and controversial the
              expert’s inquiry, the more likely the testimony should be
              excluded as unreliable.

Of course, as it should, “any step that renders the analysis unreliable . . . renders the

expert’s testimony inadmissible.” Goebel v. Denver & Rio Grande Western R.R., 346

F.3d 987, 992 (10th Cir. 2003) (quoting Mitchell v. Gencorp Inc., 165 F.3d 778, 782

(10th Cir. 1999)). Westemeir’s report does not even state an opinion, let alone explain

“the ‘whys’ and ‘wherefores’ by which that opinion is reached.” Hayes v. Wal–Mart

Stores, Inc., 294 F. Supp. 2d 1249, 1250 (E.D. Okla. 2003).           See Lifewise Master

Funding v. Telebank, 374 F.3d 917, 929 (10th Cir. 2004) (expert testimony excluded

where methodology was not in regular usage, was not peer–reviewed, has no uniform

usage in the industry, and is capable of manipulation to achieve any desired result).4


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  Because Westemeir does not articulate any opinions, the defendants (and the court) are
left to speculate as to what they would be. If Westemeir were to opine that any
improvement in Time Inc. or SI’s financial performance was caused solely by publication
of the article, then such an opinion would be inherently unreliable. See First Savings

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III.   Westemeir’s (presumed) opinions are irrelevant.

       The plaintiff’s claim is that the defendants’ publication of the article invaded his

privacy by placing him in a false light. As the Oklahoma Supreme Court held in Colbert

v. World Pub. Co., 747 P.2d 286, 290 (Okla. 1987), “the interest to be vindicated is the

injury to the person’s [the plaintiff’s] own feelings.” The financial performance of Time

Inc. or SI before and after publication––even if Westemeir were qualified to opine about

it––is wholly irrelevant to the measure of injury to the plaintiff’s feelings.

IV.    CONCLUSION.

       Westemeir’s expert report does not comply with Rule 26(a)(2)(B); and even if he

is qualified to express opinions generally about matters of accounting, the opinions

suggested by his report are not relevant and reliable. His testimony should be excluded

under Fed. R. Evid. 702 and 403 and by the principles of Daubert/Kumho.




Bank, F.S.B. v. U.S. Bancorp, 117 F. Supp. 2d 1078, 1085 (D. Kan. 2000) (excluding
expert report as “inherently unreliable and purely speculative” where expert improperly
attributed all losses to the defendant’s allegedly unlawful acts, despite the presence of
other obvious factors that could be significant to his analysis); see also Amerinet, Inc. v.
Xerox Corp., 972 F.2d 1483, 1504 (8th Cir. 1992). Westemeir’s report does not suggest
he has any peculiar insight into magazine publishing that would allow him to exclude
various factors that might impact the magazine’s financial performance.


                                              11
                                               Respectfully submitted,

                                               HALL, ESTILL, HARDWICK,
                                               GABLE, GOLDEN & NELSON, P.C.

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                           CERTIFICATE OF SERVICE

       I hereby certify that on July 5, 2017, I electronically transmitted the attached
document to the Clerk of Court using the ECF System for filing. Based on the records
currently on file, the Clerk of Court will transmit a Notice of Electronic Filing to the
following ECF registrants:

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